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14                                       UNITED STATES DISTRICT COURT
15
                                              DISTRICT OF NEVADA
16
17
      CALVARY CHAPEL LONE MOUNTAIN, a Nevada )
18                                                          )
                      Non-profit Organization,
19                                                          )
                                    Plaintiffs,             )   Case No.: 2:20-cv 00907
20                                                          )   RFB-VCF
                                                            )
                             vs.
21                                                          )
                                                            )
22    THE HONORABLE STEPHEN F. SISOLAK, in his )                SUPPLEMENT TO
      official capacity as Governor of the State of Nevada, )   PLAINTIFFS’
23    AARON DARNELL FORD, in his official capacity as )         EMERGENCY MOTION
      the Attorney General of the State of Nevada, JUSTIN )     FOR PRELIMINARY
24    LUNA, in his official capacity as Chief of the Nevada )   INJUNCTION
25    Division of Emergency Management; DOES 1 through )
      100.                                                  )
26                                                          )
                             Defendants.                    )
27                                                          )
                                                            )
28                                                          )
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14
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15
16
      STATUTES
17
18    A.      U.S. Const. Amends. I,                                        9

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        SUPPLEMENT TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
 1
 2            COME NOW, PLAINTIFFS, CALVARY CHAPEL LONE MOUNTAIN, by and

 3    through the undersigned attorneys of record, SIGAL CHATTAH, ESQ., of the CHATTAH
 4
      LAW GROUP, and JOSEPH S. GILBERT, ESQ., of JOEY GILBERT LAW, and pursuant to
 5
      Fed. R. Civ. Pro. 65, hereby supplement Plaintiff’s Motion for Preliminary Injunction filed May
 6
      21, 2020 [ECF 11].
 7
 8            Plaintiffs’ Supplement is based upon the pleadings and papers on filed herein, the

 9    Motion and Declaration of Pastor Jimmy Morales and the Exhibits and Declarations filed
10    concurrently herewith, and the following points and authorities.
11
                                      PROCEDURAL POSTURE
12
              On May 21, 2020, Plaintiffs’ filed their Motion for Preliminary Injunction requesting
13
      this Courts relief as to the Executive Directive 20-013. This Court subsequently, instructed
14
15    Defendants to file a response to same by May 28, 2020, in particularly, delineating

16    Defendants' understanding of: a.) when the Plaintiffs would be able to open and have services;
17
      and b.) what restrictions would be imposed upon Plaintiffs when they reopened for services.
18
      See [ECF 12].
19
              Following Defendants’ announcement that places of worship were authorized to open
20
21    at a limited capacity of 50 people on May 26, 2020, this Court further supplemented its May

22    22, 2020 minute Order requesting Plaintiffs supplement their Motion for Preliminary
23    Injunction. Plaintiffs hereby submit the foregoing Supplement to their Motion.
24
                                   STATEMENT OF RELEVANT FACTS
25
26            On May 28, 2020, Defendants issued Executive Order dated same day which provides
27
      in relevant part:
28

                                                     4
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                Communities of worship and faith-based organizations, including without limitation,
 1
                churches, synagogues, mosques, and temples, are strongly encouraged to offer online
 2              and drive-up services to the greatest extent possible. Effective 12:01 am on May 29,
                2020, consistent with other Directives on public gatherings, houses of worship may
 3              conduct indoor in-person services in a manner so that no more than fifty persons are
                gathered, and all social distancing requirements are satisfied. This limitation shall not
 4
                apply to houses of worship offering drive-up services pursuant to Section 10 of
 5              Directive 016. Houses of worship offering indoor, in-person services are encouraged
                to follow the guidelines promulgated by the LEAP, as well as the following provisions
 6              that are consistent with other Directives on public gatherings:
 7
 8          1. Seating must be arranged to ensure a minimum of six feet of separation between
               congregants who do not reside in the same household.
 9          2. Participants, including leaders and staff, are encouraged to utilize face coverings to the
               greatest extent practicable.
10          3. Houses of worship are encouraged to stagger services so that the entrance and egress
11             of congregants for different services do not result in a gathering greater than fifty
               persons, and to provide proper sanitation between services. 1
12
                Plaintiffs complied with said Order on Pentecost Sunday, May 31, 2020, despite major
13
14    changes in current events since the adoption of said Order.

15
      A.        RELEVANT NATIONWIDE JURISPRUDENCE
16
17
                On May 29, 2020, the United States Supreme Court issued their opinion in the case of
18
      South Bay Pentecostal Church et al ,v Gavin Newsom, Governor of California, 590 U.S.
19
      ____(2020). 2 The justices did not act on the California case until nearly midnight on Friday,
20
21    May 29, 2020.               Justices Clarence Thomas, Samuel Alito, Neil Gorsuch and Brett

22    Kavanaugh indicated that they would have granted the church’s request; Kavanaugh also
23
24
25
26
27
      1
28        See complete Executive Order attached hereto as Exhibit “1”.
      2
          See Decision attached here to as Exbibit “2”
                                                              5
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      wrote a dissent from the denial of the church’s request. See Decision attached hereto as
 1
 2    Exhibit “1”.

 3
             Roberts wrote a short opinion to express his agreement with (and to explain) the denial
 4
 5    of the church’s request. He began by noting that COVID-19 “has killed thousands of people in

 6    California and more than 100,000 nationwide,” but there is “no known cure, no effective
 7    treatment, and no vaccine.” Moreover, he added, people “may be infected but asymptomatic”
 8
      and therefore can infect others unknowingly. The California order at the heart of this case, he
 9
      observed, temporarily restricts the number of people who can gather in public “to address this
10
11    extraordinary health emergency.”

12
             “The relief that the church had asked for – an order blocking the state from enforcing
13
14    the restrictions on gatherings – faces a high bar”, Roberts explained. And in his view, “the

15    church could not meet that bar. The restrictions appear to be constitutional: The state has

16    limited the size of similar, non-religious gatherings like plays, concerts and sporting events.”
17
             “Although the state treats activities like grocery stores and banks differently”, Roberts
18
      continued, “those activities are in fact different, because they do not involve large groups of
19
      people coming together in close proximity for extended periods of time”. “The precise
20
21    question of when restrictions on particular social activities should be lifted during the

22    pandemic,” Roberts reasoned, “is a dynamic and fact-intensive matter subject to reasonable
23    disagreement.” It is also a question the Constitution has primarily delegated to politicians,
24
      which courts should normally not second-guess. “That is especially true,” Roberts explained,
25
      in a case like this one, in which the church is seeking emergency relief “while local officials
26
27    are actively shaping their response to changing facts on the ground.” The idea that it is so

28

                                                      6
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      clear that the restrictions are unconstitutional that the Supreme Court should step in, Roberts
 1
 2    concluded, “seems quite improbable.”

 3
             In a three-page dissent joined by Thomas and Gorsuch, Kavanaugh argued that the
 4
 5    restrictions on attendance imposed on the church do violate the Constitution. In his view, the

 6    businesses that are not subject to the restrictions – which, he noted, include malls, pet

 7    groomers, hair salons and marijuana dispensaries – are comparable to gatherings at houses of
 8
      worship, and California has not shown a good reason for treating houses of worship
 9
      differently. Because the church “would suffer irreparable harm from not being able to hold
10
      services on Pentecost Sunday in a way that comparable secular businesses and persons can
11
12    conduct their activities,” Kavanaugh would have granted the church’s request for relief.

13
      B.     PROTESTS FOLLOWING DEATH OF GEORGE FLOYD
14
15
             On May 25, 2020, Minneapolis police officers arrested George Floyd, a 46-year-old
16
      black man, after a deli employee called 911, accusing him of buying cigarettes with a
17
18    counterfeit $20.00 bill. Seventeen minutes after the first squad car arrived at the scene, Mr.

19    Floyd was unconscious and pinned beneath three police officers, showing no signs of life.
20
21           Almost immediately after the dissemination of the footage of said gruesome death,

22    protests erupted across the nation lead by various political groups and touched almost every
23    state in the nation including Nevada.
24
25           On May 29, 2020, protests in Las Vegas and Reno, Nevada began, with thousands

26    gathering over the course of the subsequent three days to protest the unlawful murder of Mr.
27
      Floyd. Community leaders in both Southern and Northern Nevada encouraged the peaceful
28

                                                      7
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      protests, never once delineating a course of conduct that complied with the social distancing
 1
 2    requirements of the COVID -19 pandemic or the Governor’s Executive Orders.

 3
                 In Fact, Defendant Ford, in a Unity Press Conference in Las Vegas on May 31, 2020
 4
 5    stated the following:

 6
                 This is another opportunity for us to show solidarity with our community; to
 7               encourage those who, obviously reeling in pain right now to engage in their
 8               constitutional right to protest. You should do that. We want you to do that. We
                 want you to do it peacefully however.
 9
                 I am your attorney general, but before I was your attorney general, I was a black man.
10               When I’m not an attorney general, I will be a black man. I’m a black man, married to a
11               black woman, raising black sons. And when we see these types of atrocities happen
                 across our Country, we hurt. My sons themselves want to participate in these protests
12               and they have the right to do that. And if my sons do it, I will ensure and they will
                 ensure that it is done in a peaceful way.
13
14               There is so much work that we can continue doing. Frankly, I’m proud of the work
                 that Metro has been doing the last fifteen years or so, to improve themselves, having
15               asked and the federal government help them improve their interactions with the black
                 community. Are they perfect? Absolutely not, do we have work to do? We absolutely
16               do; and we want to continue with you to make that happen. I stand in solidarity with
                 those here today, around me, letting you know that we love you and we love this City.
17
                 We wanna stand with you we want to continue to support you. We will continue to do
18               what we can in law enforcement to improve our practices and our police, to ensure that
                 everyone is treated correctly with respect and that we can move to eliminate the type
19               of atrocities we’ve seen happen in Minneapolis, in Missouri, in Chicago, in Los
                 Angele, here, and elsewhere across our country. Thank you all for coming out. Thank
20
                 you for loving this City as well. I look forward to continue to work with you. 3
21
                 It is significant to note, that nowhere in Ford’s discussions, or any other Nevada
22
      Official’s speeches for that matter, during three unity press conferences, were their any
23
24    discussions or instructions to maintain the COVID- 19, restrictions. The suspension of

25    restrictions in favor of one First Amendment Right of assembly and protest in lieu of racial
26
27
28    3
          https://bnonews.com/index.php/klas-tv/
                                                        8
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      consternation, versus the enforcement of restriction on another First Amendment Right, to
 1
 2    wit: Free Exercise Clause, is simply an arbitrary application that further mandates a strict

 3    scrutiny analysis under Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S.
 4
      520 (1993).
 5
                 Plain and simple, one First Amendment right should never be favored over another
 6
      First Amendment right. The right of free exercise to the faithful is no less important than the
 7
 8    right of freedom of assembly to the indignant.

 9                                          LEGAL AUTHORITY
10    The First Amendment to the United States Constitution provides:
11
                 Congress shall make no law respecting an establishment of religion, or
12               prohibiting the free exercise thereof; or abridging the freedom of speech, or
                 of the press; or the right of the people peaceably to assemble, and to petition
13
                 the Government for a redress of grievances. 4
14
      A.         DEFENDANTS FREELY ALLOWED PROTECTED PUBLIC SPEECH AND
15               PUBLIC ASSEMBLY IGNORING CDC AND EXECUTIVE SOCIAL
                 DISTANCING GUIDELINES WHILE LIMITING FREE EXERCISE
16
17               The First Amendment states that “Congress shall make no law . . . abridging the

18    freedom of speech, . . . or the right of people peaceably to assemble. . . .” U.S. Const. amend.
19
      I; see also Lovell v. City of Griffin, 303 U.S. 444, 450 (1938) (holding that the First
20
      Amendment’s prohibitions also apply to state and local government rule-makers).
21
                 The First Amendment’s protection of public speech applies with greatest force in a
22
23    traditional public forum such as a public sidewalk, see Pleasant Grove City v. Summum, 555

24    U.S. 460, 469 (2009),
25
26
27
28    4
          U.S. Const. amend. I.
                                                       9
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               The protections afforded by the First Amendment are nowhere stronger than in streets
 1
 2     and parks, both categorized for First Amendment purposes as traditional public fora. See

 3     Perry Educ. Ass’n, 460 U.S. at 45; Long Beach Area Peace Network v. City of Long Beach,
 4
       522 F.3d 1010, 1021 (9th Cir. 2008). In such fora, the government’s right “to limit expressive
 5
       activity [is] sharply circumscribed.” Perry Educ. Ass'n v. Perry Educators' Ass'n, 460 U.S. 37,
 6
       45 (1983)
 7
 8
               Despite the broad First Amendment protection accorded expressive activity in public
 9
       parks, “certain restrictions on speech in the public parks are valid. Specifically, a municipality
10
11     may issue reasonable regulations governing the time, place or manner of speech.” [Emphasis

12     added] Grossman v. City of Portland, 33 F.3d 1200, 1204-05 (9th Cir. 1994); see also Clark

13     v. Cmty. for Creative Non-Violence, 468 U.S. 288, 293 (1984). To pass constitutional muster,
14
       a time, place, or manner restriction must meet three criteria: (1) it must be content neutral; (2)
15
       it must be “narrowly tailored to serve a significant governmental interest”; and (3) it must
16
       “leave open ample alternative channels for communication of the information.” Ward v. Rock
17
18     Against Racism, 491 U.S. 781, 791 (1989) (quoting Clark, 468 U.S. at 293).

19             Here as stated supra, Defendants did not issue any Orders or instructions as to the
20
       manner of the protests that occurred over the course of the past four days. Despite having
21
       every authority to do so under Grossman, et seq., there were no guidelines issued by
22
       Defendants to comply with COVID- 19 restrictions.5
23
24
25
26
27
       5
28      The mayhem, violence, looting, civil disobedience and over 100 arrests that occurred both in Las Vegas and
       Reno are noteworthy results that occurred, but are irrelevant for purposes of this briefing.
                                                             10
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                  Protestors were given wide latitude as to social distancing, while groups of hundreds
 1
 2     of people gathered and did not require masks during the protests. 6

 3                It is significant to note though, that Attorney General Ford, did however, reach out to
 4
       undersigned Counsel to notify Counsels for Plaintiff that any violation of Executive Directive
 5
       dated 5/28/20 on Pentecost Sunday by Plaintiffs, will result in the arrest of congregants and
 6
       Pastor Jimmy Morales.
 7
 8     B.         THE RESTRICTIONS AND DEMOGRAPHICS ON THE STATE OF NEVADA
                  ARE CATEGORICALLY DIFFERENT FROM THE STATE OF CALIFORNIA
 9                AND THEREFORE THE SOUTH BAY PENTECOSTAL DECISION DOES NOT
                  APPLY HEREIN.
10
11                Like, the State of Nevada, the Executive Order in California issued by Governor Gavin

12     Newsom also aimed to limit the spread of COVID–19. The Order places temporary numerical

13     restrictions on public gatherings to address this extraordinary health emergency. California
14
       State guidelines currently limit attendance at places of worship to 25% of building capacity or
15
       a maximum of 100 attendees. See CalOsha Covid-19 Industry Guidance dated May 25, 2020
16
       and attached hereto as Exhibit “3”
17
18                The precise language of the Guideline provides:

19                *Places of worship must therefore limit attendance to 25% of building capacity
                  or a maximum of 100 attendees, whichever is lower. This limitation will be in
20
                  effect for the first 21-days of a county public health department’s approval of
21                religious services and cultural ceremonies activities at places of worship within
                  their jurisdictions.
22                Upon 21-days, the California Department of Public Health, in consultation with
                  county Departments of Public Health, will review and assess the impact of these
23                imposed limits on public health and provide further direction as part of a phased-
24                in restoration of activities in places of worship.

25
26
27
28     6
           See Photographs attached hereto as Exhibit “5” along with Counsel’s Declaration attached herein.
                                                              11
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              While the population demographics of both the residents of the State of California and
 1
 2    those infected in the State seemingly allow for a 25% capacity or 100 people at places of

 3    worship, while managing to curtail deaths.
 4
              According to the CDC, as of the date of this brief, with a population of over 39.5
 5
      million residents, California has had 106,878 cases of COVID- 19 with 4,156 deaths since the
 6
      first case. https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html.
 7
 8    Nevada, on the other hand, with a population of 3.08 million residents, has had 8,495 cases of

 9    COVID-19 and 417 deaths.
10            Despite such a disparity in cases, Defendants herein arbitrarily capped places of
11
      worship at 50 people in the State of Nevada. Seemingly, according to Defendants, a capacity of
12
      higher than 50 people in a place of worship may potentially expose worshippers to COVID-19,
13
      but in California, that exposure allegedly occurs if worshipers exceed 100 people at a time.
14
15            More significant though is the elimination of all social distancing requirements that

16    followed in California, as protests for the murder of George Floyd were carried there as well.
17
      The South Bay decision was superseded by the national protests and accordingly, could not be
18
      taken into consideration by the United States Supreme Court in determination of whether the
19
      right to protest despite the COVID-19 restrictions should be given preference over freedom of
20
21    worship.

22            The arbitrary nature of Nevada and Defendants’ metric is clearly unsubstantiated by
23    any empirical data and demonstrates that Defendants’ Order is simply an ad hoc decision that
24
      is completely arbitrary and capricious.
25
       ///
26
27     ///

28     ///

                                                     12
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                1. Defendants Arbitrarily Allow 50% Fire Code Occupancy Rate to Secular
 1
                   Businesses and Limit 50 Individuals to Places of Worship
 2
                The National Fire Protection Association (NFPA) defines business occupancies as
 3
       facilities, buildings, or structures which are “used for the transaction of business other than
 4
 5     mercantile.” (NFPA 101: 6.1.11.1) Life Safety Code identifies the fire protection and life safety

 6     requirements for business occupancies in chapters 38 and 39. Nevada’s Fire Code is based on
 7     International Fire Code7
 8
                Following the COVID-19 outbreak both FEMA and the CDC adopted
 9
       recommendations for businesses, not using the International Fire Code as a guideline, but
10
11     empirical scientific data on the spread of the virus. See

12     https://www.usfa.fema.gov/coronavirus/planning_response/occupancy_social_distancing.html

13              On May 31, 2020, Calvary Chapel held Pentecost Sunday services with 50
14
       congregants in attendance. The Chapel holds a capacity of 700 worshipers throughout the
15
       church. 50 worshipers in the capacity of the approximately 16,000 s’f building is less than
16
       10% capacity.
17
18              Based on the Governor’s recommendation by using International Fire Codes for other

19     secular businesses, a smaller congregation with much less square footage, 50 people may
20
       include a higher percentage of capacity, as in for instance 70-80% capacity according to
21
       FEMA’s (Federal emergency Management Agency) COVID-19 recommendations 8.
22
23
24
       7
25        On January 22, 2019 the Board of Clark County Commissioners approved an Ordinance which adopted
        the 2018 International Fire Code with local amendments for Clark County and adopting a new fee schedule. The
26      new code is effective as of February 6, 2019. https://www.clarkcountynv.gov/building/fire-
        prevention/Pages/FireCode.aspx
      8
27      One way of converting the CDC's 6-foot separation criteria to occupant load is to simply calculate the area of a
        circle with a radius of 6 feet, which is equal to approximately 113 square feet per person. This represents a
28      conservative approach that accounts for instances when people might be standing along a wall or might not be
        standing in the center of the circle.
                                                              13
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               Assuming that FEMA’s and CDC’s recommendations should be used as an authority
 1
 2     to “slow the spread”; than Calvary Chapel should be allowed to house approximately 140

 3     worshippers at any given event/services, according to FEMA and CDC guidelines, which still
 4
       would remain well under the 50% of congregants in other secular businesses, such as
 5
       restaurants, bars, casinos, etc.
 6
               At this juncture, since Defendants’ Orders are not based on FEMA or CDC guidelines,
 7
 8     but appear to be a random number delineated (albeit in disparity to our neighbors in

 9     California), Plaintiffs herein request that this Court accept the empirical data of FEMA and
10     the CDC in contemplation of the analysis as to the arbitrary Order entered by Defendants.
11
               Furthermore, as noted above, if Defendants can allow a 50% fire code capacity in a
12
       restaurant/bar/casino where prolonged gathering may be, in addition to sharing cutlery,
13
       platters, and oxygenation/ventilation of the establishment, than there is no reason that the
14
15     same occupancy cannot be afforded to non-secular places of worship.

16             2.       Calvary Chapel Presents a Reopening Safety Plan that Complies with
                        FEMA/CDC Guidelines and a 50% Capacity Allocation.
17
18             On May 29, 2020, in response to the Phase 2 Reopening Plan, Plaintiffs provided their

19     own plan based on CDC guidelines. It is important to note that the following are significant
20
       modifications:
21
                   Gatherings will be limited toa maximum of 50% capacity
22
                   Social Distancing will be strictly adhered to
23
24                 Services will be shortened and sanitation will occur between services

25                 Attendance will be by reservation only
26
27
28
       https://www.usfa.fema.gov/coronavirus/planning_response/occupancy_social_distancing.html
                                                           14
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 1                    Tithes and offerings will not be gathered

 2                    Attendees, Team and Staff members will refrain from shaking hands/hugging; etc. 9
 3     C.         THE ARBITRARY COLLATERALIZATION OF PUBLIC HEALTH AND
 4                WELFARE TO AFFORD PUBLIC PROTEST BUT NOT FREEDOM OF
                  WORSHIP IS A DISCRIMINATORY ACT AB INITIO
 5
                  It cannot be disputed that the need to publicly protest the atrocity of George Floyd’s
 6
       tragic murder was unforeseen. Nor can it be disputed that a suspension of Free Exercise
 7
 8     during a world-wide pandemic was foreseeable. However, at the outset of this Supplemental

 9     Briefing, Plaintiffs provided that the right to public assembly and protest is no less important
10
       than the right to free exercise of religious worship. One First Amendment freedom shall not
11
       be favored on account of another while the ultimate goal is to slow the spread of a pandemic,
12
       regardless of which freedom is preferential to which group.
13
14                There is no empirical evidence that COVID-19 does not spread as people protest

15     without social distancing, but does spread in places of worship that comply with CDC social
16     distancing guidelines.
17
                  The favoring of one activity of allowing thousands of protestors to congregate, while
18
       ignoring all COVID-19 guidelines, and then arbitrarily denying the civil right of worship,
19
       also in the same First Amendment said protestors rely upon, is an arbitrary preference of
20
21     which First Amendment right is more important to enforce.

22                For the protestors of George Floyd’s murder, COVID-19 mandates were much less
23
       important than their right to assemble and protest, as was demonstrated by both protestors and
24
       State officials allowing same. Contrarily, the COVID-19 mandates are not insignificant to
25
26
27
28     9
           Plaintiffs’ complete safety plan is attached hereto as Exhibit “4”.
                                                                  15
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       those practicing their respective faiths, but the Free Exercise of same, could be done in
 1
 2     accordance with said guidelines as has been demonstrated by same secular businesses.

 3                As pictures attached hereto depict10, social distancing was not practiced during the
 4
       protests. Through their pleadings, Plaintiffs consent to and have provided a specifically
 5
       delineated guideline as to practices and procedures which would not even remotely rise to the
 6
       distances allowed at the public protests over the past four days.
 7
 8                Therefore, there cannot be any legitimate government interest in precluding people of

 9     faith to worship in accordance with mandated guidelines present for secular business; but
10     afford complete immunity to those guidelines when it comes to people’s indignation and
11
       rights to protest based on same.
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28     10
            See Exhibit “5”
                                                         16
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                                                  CONCLUSION
 1
 2             Accordingly, the Court should enter a preliminary injunction enjoining Defendants

 3     from enforcement of Emergency Directives 20-003 et seq. or any matter impacting Plaintiffs
 4
       constitutional interests that precludes their ability to participate in places of worship as it does
 5
       in secular businesses.
 6
               Plaintiffs hereby further request that this Court enter an Order adopting guidelines
 7
 8     substantiated by empirical data and guidelines based on fire code restrictions rather than the

 9     ad hoc mandates issued on the basis of random numbers unsupported by any data.
10
11             DATED this _1st_day of June 2020.

12
                                                       CHATTAH LAW GROUP
13
14                                                           /s/ S. CHATTAH
                                                             SIGAL CHATTAH, ESQ.
15                                                           Nevada Bar No.: 8264
                                                             CHATTAH LAW GROUP
16                                                           5875 S. Rainbow Blvd. #203
17                                                           Las Vegas, Nevada 89118
                                                             Tel.:(702) 360-6200
18                                                           Attorney for Plaintiffs
19
20
21                                                    JOEY GILBERT LAW
22
23                                                    By: /s Joseph S. Gilbert
                                                         Joseph S. Gilbert, Esq.
24                                                       Roger O’Donnell, Esq
                                                         Attorneys for Plaintiffs/Petitioners
25
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27
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                         DECLARATION OF SIGAL CHATTAH, ESQ.
 1
 2
             I, SIGAL CHATTAH, declare as follows:
 3
             1.    I am a licensed attorney in the State of Nevada since 2002 and a member of
 4
 5                 good standing with the State Bar of Nevada.

 6           2.    Both myself and JOSEPH S. GILBERT, ESQ. represent the interests of
 7                 CALVARY CHAPEL LONE MOUNTAIN in this matter.
 8
             3.    The photographs attached to this Supplement were printed by myself from
 9
                   image website searches online. I can not attest to their authenticity but do seem
10
11                 to be an accurate representation of the manner of the protests I viewed on

12                 television in Las Vegas, both on Las Vegas Boulevard and in Downtown Las

13                 Vegas.
14
             4.    I have no reason to believe that the photographs attached hereto from local
15
                   News sites are anything but accurate depictions of protests in Las Vegas over
16
                   the past 48 hours.
17
18           5.    I personally, have not altered or modified any of the images attached hereto.

19           6.    On Friday night, at approximately 21:00 hrs, my Co-Counsel Mr. Gilbert
20
                   informed me that Attorney General Ford had discussed Calvary Chapel Lone
21
                   Mountain exceeding the 50 person mandate with him and advised him that
22
                   Pastor Morales may be arrested on Pentecost Sunday if those mandates were
23
24                 not followed.

25           7.    Pastor Morales further confirmed this information with me on Saturday May
26                 30, 2020 as he indicated that he received a phone call from a Captain
27
28

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                   LVMPD’s SIS (Special Investigative Services) Unit, warning him to refrain
 1
 2                 from said activity per the Attorney General’s request.

 3           8.    Following said warning Calvary Chapel Lone Mountain was forced to turn
 4
                   away congregants on Pentecost Sunday to comply with Defendants mandates.
 5
             9.    These are the facts as I know them to be true.
 6
             10.   Under NRS 53.045, I declare under penalty of perjury that the foregoing is true
 7
 8                 and correct.

 9
             _/s/ __SIGAL CHATTAH__
10           Declarant
11           SIGAL CHATTAH, ESQ.

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 1
                                      CERTIFICATE OF SERVICE
 2
       I hereby certify that on the 1st day June, 2020, I served a copy of the foregoing
 3
       PLAINTIFFS’ SUPPLEMENT TO MOTION to all registered parties via E-service on the
 4
 5     CM/ECF registry

 6
                                               ____/s/ SIGAL CHATTAH___
 7                                               CHATTAH LAW GROUP
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